Case 1:19-cr-00576-BMC Document 200 Filed 02/07/23 Page 1 of 1 PageID #: 12886

                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
SK/EMR/PP/MD/AA                                      271 Cadman Plaza East
F. #2019R00927                                       Brooklyn, New York 11201



                                                     February 7, 2023

By ECF

The Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

                The government writes regarding tomorrow’s trial schedule. The government
intends to call four witnesses to testify tomorrow but the government does not anticipate that
this testimony will last for the entire trial day. Because of a logistics issue with the
government’s next significant witness after the conclusion of these witnesses, the
government respectfully requests that the Court adjourn trial early tomorrow. The defense
consents to this request. In addition, the government anticipates it will likely rest its case-in-
chief by Tuesday morning.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:       /s/
                                                     Saritha Komatireddy
                                                     Erin M. Reid
                                                     Philip Pilmar
                                                     Marietou Diouf
                                                     Adam Amir
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

cc:    Defense Counsel (by ECF)
